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               EXHIBIT 66
               EXHIBIT
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 THE TRUMP PRESIDENTIAL
 THE TRUMP PRESIDENTIAL TRANSITION
                        TRANSITION TEAM
                                   TEAM HOLDS A NEWS
                                        HOLDS A NEWS BRIEFING
                                                     BRIEFING
                     VIA TELECONFERENCE
                     VIA TELECONFERENCE
                                                              CQ
                                                              CQ Transcriptions
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                                                         January 13, 2017 Friday


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Body
Body

                        2017
EVENT DATE: January 13, 2017
TYPE: NEWS BRIEFING
SPEAKER: THE TRUMP PRESIDENTIAL TRANSITION TEAM

OPERATOR: Please
OPERATOR:    Please stand
                     stand by.
                            by. Good     day, ladies
                                  Good day,   ladies and
                                                     and gentlemen,
                                                         gentlemen, and
                                                                    and welcome
                                                                        welcome to the Transition Daily Briefing
Conference Call.
Conference Call. Today's call is
                 Today's call is being recorded.
                                 being recorded.

                  I'd like
    At this time, rd  like to
                           to turn
                              turn the
                                   the floor
                                       floor over
                                             over to
                                                  to Sean
                                                     Sean Spicer.
                                                          Spicer.

SPICER: Hey. Good morning. We are officially
                                  officially one
                                             one week
                                                 week out
                                                      out from
                                                          from Inauguration
                                                               Inauguration Day,
                                                                            Day, get
                                                                                 get excited.
                                                                                     excited.

    Yesterday, the
    Yesterday,  the president-elect
                    president-elect spoke
                                      spoke with
                                              with president
                                                    president ofof Portugal
                                                                   Portugal who
                                                                             who congratulated
                                                                                  congratulated on
                                                                                                 on his
                                                                                                     his historic
                                                                                                         historic victory.
                                                                                                                  victory.
Today, the
Today,  the president-elect
            president-elect and
                            and the
                                 the vice
                                     vice president-elect
                                          president-elect have
                                                            have now
                                                                  now spoken
                                                                       spoken with
                                                                               with over
                                                                                    over 75
                                                                                         75 world
                                                                                            world leaders.
                                                                                                  leaders. The
                                                                                                            The office of
National Engagement which is is part
                                part of
                                     of the
                                        the transition
                                            transition office
                                                       office is
                                                              is now
                                                                 now engaged
                                                                      engaged with
                                                                               with over
                                                                                    over 1,000
                                                                                         1,000 organizations
                                                                                               organizations and
                                                                                                              and groups
                                                                                                                  groups
since Election
since Election Day
               Day to
                   to discuss
                      discuss the
                               the issues
                                   issues that
                                           that are
                                                are most
                                                    most important
                                                           important to
                                                                     to the
                                                                        the American
                                                                            American people.
                                                                                      people.

   II know
      know we've
            we've talked
                  talked aa lot
                            lot about
                                about the
                                      the preparations
                                           preparations that
                                                        that have
                                                             have gone
                                                                  gone into
                                                                       into the
                                                                            the cabinet
                                                                                cabinet hearings
                                                                                        hearings that
                                                                                                 that have
                                                                                                      have started
                                                                                                            started to
                                                                                                                    to
occur on
occur  on the
          the (inaudible)
              (inaudible) this
                          this week,
                                week, just
                                      just a
                                           a quick
                                             quick update
                                                   update on
                                                           on those.We've
                                                              those.We've had
                                                                           had over
                                                                                over 35
                                                                                     35 mock
                                                                                        mock hearings
                                                                                              hearings that
                                                                                                       that today
                                                                                                             today for
                                                                                                                   for
Cabinet nominees with 4,712 questions being asked and an average of 124 questions per hearing.

    Over   75 hours
     Over 75  hours of
                     of hearing
                        hearing have
                                have been
                                      been conducted
                                            conducted with
                                                        with 4,560
                                                             4,560 minutes
                                                                   minutes spent  in these
                                                                            spent in these hearing
                                                                                           hearing preparations,
                                                                                                   preparations, each
                                                                                                                 each
lasting up to two hours.On average we've had nine individuals participating in the role of Senator and each hearing
with a
with  a total
        total of
              of 342
                 342 individual
                      individual volunteers
                                 volunteers sitting  behind the
                                             sitting behind the dais
                                                                dais to
                                                                     to play
                                                                        play the
                                                                             the role;
                                                                                 role; Senators
                                                                                       Senators can
                                                                                                 can get these highly
                                                                                                     get these  highly
qualified individuals prepared for their confirmation hearing.
qualified

    The recap yesterday,
    The recap   yesterday, II mentioned
                              mentioned on on the
                                               the call
                                                   call the
                                                        the president-elect
                                                            president-elect announced
                                                                              announced thatthat former Mayor Rudy Giuliani will
be leading
be leading up
            up aa new
                  new Cyber
                       Cyber Security
                               Security Committee.
                                          Committee. In  In this
                                                            this role
                                                                 role Mayor
                                                                       Mayor Giuliani  will lead, lend his insight and expertise
                                                                              Giuliani will
concerning private
concerning  private sector
                    sector security,
                            security, cyber
                                       cyber security
                                              security problems
                                                         problems and
                                                                    and emerging
                                                                         emerging solutions.
                                                                                    solutions.Developing
                                                                                               Developing inin the
                                                                                                               the private sector,
                                                                                                                   private sector,
Mister Giuliani
Mister Giuliani was
                was asked
                     asked toto initiate
                                initiate this
                                         this process
                                              process because
                                                        because of of the
                                                                      the long-standing
                                                                          long-standing successful
                                                                                          successful government
                                                                                                      government career
                                                                                                                    career in
                                                                                                                            in law
                                                                                                                               law
enforcement and
enforcement   and 16
                   16 years
                      years providing
                              providing security
                                          security solutions
                                                   solutions in
                                                              in the
                                                                 the private
                                                                      private sectors.
                                                                              sectors.

    Yesterday afternoon,
    Yesterday afternoon, the
                         the president-elect
                             president-elect announced
                                             announced his
                                                         his intention
                                                             intention to
                                                                       to appoint
                                                                          appoint Dina
                                                                                  Dina Powell
                                                                                        Powell as
                                                                                               as the
                                                                                                  the assistant
                                                                                                      assistant to
                                                                                                                to the
                                                                                                                   the
president and
president  and senior
                senior counselor
                        counselor for
                                    for economic
                                         economic initiatives.ln
                                                   initiatives.In this
                                                                   this role
                                                                         role she
                                                                              she will
                                                                                    will build
                                                                                         build new
                                                                                                new efforts
                                                                                                      efforts around
                                                                                                              around
entrepreneurship, small business growth and economic empowerment of women.

    The  president released
    The president   released the
                               the following
                                     following statement
                                                statement regarding
                                                            regarding Ms.
                                                                        Ms. Powell's appointment. "Dina Powell is a
tremendous talent
tremendous  talent and
                   and has
                        has aa stellar
                                stellar record
                                         record of
                                                of public
                                                   public service,
                                                          service, as
                                                                   as well
                                                                       well aa great
                                                                               great career
                                                                                     career in
                                                                                             in the
                                                                                                the private
                                                                                                     private sector.
                                                                                                             sector. She
                                                                                                                     She has
                                                                                                                         has
been recognized
been  recognized for
                 for her
                      her strategic
                          strategic oversight,   key programs
                                      oversight, key            and initiatives
                                                     programs and     initiatives and
                                                                                  and is
                                                                                      is a
                                                                                         a leader
                                                                                           leader inin both
                                                                                                       both economic
                                                                                                            economic growth
                                                                                                                      growth
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     THE TRUMP PRESIDENTIAL TRANSITION
                            TRANSITION TEAM
                                       TEAM HOLDS A NEWS
                                            HOLDS A      BRIEFING VIA
                                                    NEWS BRIEFING VIA TELECONFERENCE
                                                                      TELECONFERENCE

and the
and  the crucial
          crucial empowerment
                    empowerment of  of women
                                       women in  in various
                                                    various aspects
                                                             aspects of of business
                                                                           business development
                                                                                     development andand entrepreneurial
                                                                                                         entrepreneurial
endeavors. I'm
endeavors.        proud to
              I'm proud to have
                           have her
                                her serve
                                     serve as
                                           as the
                                               the senior
                                                   senior counselor
                                                          counselor in
                                                                     in my
                                                                        my administration
                                                                           administration where
                                                                                          where II know
                                                                                                   know she
                                                                                                        she will
                                                                                                            will produce
                                                                                                                 produce
great results
great results working
               working with
                       with highly
                            highly respected
                                   respected team
                                              team of
                                                    of experts that we
                                                       experts that we have
                                                                        have assembled".
                                                                             assembled".

    Yesterday, a
    Yesterday,  a quick  recap of
                  quick recap    of the
                                    the individual
                                        individual meetings,
                                                    meetings, she
                                                                she met
                                                                     met with
                                                                         with Randall
                                                                              Randall Stephenson,
                                                                                       Stephenson, the the chairman
                                                                                                            chairman and     CEO
                                                                                                                       and CEO
of AT&T.
of AT&T. Just
            Just as
                 as a  recap, II know
                     a recap,    know I've    got some
                                        I've got         incoming questions
                                                  some incoming     questions on
                                                                              on this,
                                                                                  this, just
                                                                                        just to
                                                                                             to be
                                                                                                be clear
                                                                                                    clear that
                                                                                                           that the
                                                                                                                 the eight
                                                                                                                     eight --   the
                                                                                                                            -- the
pending merger
pending   merger between
                  between AT&T
                            AT&T andand Time    Warner was
                                          Time Warner          not discussed.
                                                          was not  discussed. AT&T
                                                                               AT&T diddid put
                                                                                           put out
                                                                                                out a
                                                                                                    a statement
                                                                                                      statement to to reflect
                                                                                                                      reflect this
                                                                                                                               this
and as
and  as I've
        I've noted, some of
             noted, some   of them
                              them have
                                     have also
                                            also called;
                                                 called; the
                                                         the meeting
                                                              meeting as
                                                                       as most
                                                                          most of
                                                                               of this
                                                                                  this meetings
                                                                                       meetings of of CEO    primarily dealt
                                                                                                      CEO primarily    dealt with
                                                                                                                              with
job creation
job creation and
              and regulatory
                   regulatory impact
                                impact that
                                        that companies
                                              companies like
                                                           like AT&T
                                                                AT&T have
                                                                       have on
                                                                             on the
                                                                                the ability
                                                                                     ability to
                                                                                             to create
                                                                                                 create jobs
                                                                                                         jobs and   spur further
                                                                                                                and spur   further
economic growth.
economic   growth.

    He  also met
    He also  met with
                  with Martin  Silverstein, former
                       Martin Silverstein,  former U.S.   ambassador to
                                                     U.S. ambassador     to Uruguay;   Mr. Mark
                                                                            Uruguay; Mr.   Mark Green,    former ambassador
                                                                                                Green, former    ambassador
to Tanzania;
to            and then
   Tanzania; and   then I'm  going to
                        I'm going   to read
                                       read this
                                            this one
                                                 one again,
                                                      again, so
                                                             so II don't
                                                                   don't say
                                                                         say incorrectly.
                                                                              incorrectly. B-A-L-A-J-
                                                                                           B-A-L-A-J- I, last name
                                                                                                      I, last name capital
                                                                                                                    capital S-
                                                                                                                            5-
R-I-N-I-V-A-S-A-N who
R-I-N-I-V-A-S-A-N    who is
                          is CEO
                             CEO andand co-founder
                                         co-founder ofof 21.Co,
                                                         21.Co, and
                                                                 and a   partner at
                                                                      a partner   at Andreessen
                                                                                     Andreessen Horowitz;
                                                                                                  Horowitz; Jim
                                                                                                              Jim O'Neill, the
                                                                                                                  O'Neill, the
managing director
managing   director of
                    of Natural
                       Natural (ph)
                                 (ph) Capital Management and
                                      Capital Management     and former
                                                                   former principal
                                                                           principal deputy
                                                                                     deputy associate,
                                                                                            associate, deputy--
                                                                                                         deputy-- excuse   me,
                                                                                                                  excuse me,
principal associate
principal associate deputy
                     deputy at
                             at the
                                the Department
                                    Department of of HSS.
                                                     HSS.

    Regarding the
    Regarding    the president
                     president (sic)  schedule today,he
                                (sic) schedule  today,he received
                                                          received just
                                                                   just --
                                                                         -- daily intelligence briefing.
                                                                            daily intelligence   briefing. HeHe then
                                                                                                                then is
                                                                                                                      is meeting
                                                                                                                         meeting
with Mr.
with      Richard Trumka,
     Mr. Richard    Trumka, T-R-U-M-K-A,
                              T-R-U-M-K-A, whowho serves    as the
                                                    serves as  the president
                                                                   president of of the
                                                                                    the American
                                                                                         American Federation
                                                                                                     Federation of of Labor
                                                                                                                      Labor and
                                                                                                                            and
Congress of
Congress   of Industrial
              Industrial Organizations,  better known
                         Organizations, better   known as  AFLCIO; following
                                                        as AFLCIO;   following this
                                                                                this he
                                                                                      he will
                                                                                          will meet
                                                                                               meet with
                                                                                                     with Marillyn
                                                                                                          Marillyn Hewson,   the
                                                                                                                    Hewson, the
CEO of
CEO  of Lockheed
         Lockheed Martin    for the
                     Martin for  the second
                                     second time.
                                             time. As
                                                    As many
                                                        many of
                                                              of you
                                                                 you may
                                                                      may recall,
                                                                             recall, their
                                                                                     their first
                                                                                           first meeting
                                                                                                 meeting was
                                                                                                           was in
                                                                                                                in December
                                                                                                                   December at at
Trump Tower
Trump           where they
       Tower where     they had
                            had a a productive
                                    productive session
                                               session about
                                                        about cost
                                                              cost of
                                                                   of military  aircraft for
                                                                      military aircraft  for U.S.
                                                                                              U.S. and  allies.
                                                                                                   and allies.

    After that
   After  that he
               he will
                  will have
                        have some
                             some brief
                                     brief interviews
                                           interviews with
                                                       with the
                                                            the London
                                                                London Times,
                                                                        Times, The Build Newspaper
                                                                               The Build Newspaper ofof Germany;
                                                                                                        Germany; and
                                                                                                                 and
then the
then the president-elect
          president-elect will  meet with
                           will meet  with William
                                            William Happer,
                                                     Happer, H-A-P-P-E-R,
                                                              H-A-P-P-E-R, an
                                                                           an accomplished  physicists who
                                                                               accomplished physicists who previously
                                                                                                           previously
served as
served  as director
           director of
                    of the
                       the Office of Energy
                           Office of Energy inin the
                                                 the U.S.
                                                     U.S. Department
                                                          Department of Energy under
                                                                     of Energy under George
                                                                                     George H.W.  Bush.
                                                                                            H.W. Bush.

    He   will then
    He will   then meet
                    meet with
                         with Mr.
                               Mr. Steve
                                   Steve Harvey,   H-A-R-V-E-Y. He
                                          Harvey, H-A-R-V-E-Y.         will then
                                                                    He will then meet
                                                                                  meet with
                                                                                         with Mr.  Steve Roth,
                                                                                               Mr. Steve   Roth, R-O-T-H,
                                                                                                                  R-O-T-H, who
                                                                                                                            who is
                                                                                                                                 is
the chairman
the chairman and and CEO
                      CEO ofof Brando
                               Brando Realty
                                       Realty Trust.    The president-elect's
                                               Trust. The   president-elect's final
                                                                                final meeting    today will
                                                                                      meeting today     will be
                                                                                                             be with  Senator Mrs.
                                                                                                                 with Senator Mrs.
Blunt to
Blunt  to discuss
          discuss the
                    the upcoming
                        upcoming week
                                    week of
                                          of historic
                                             historic inaugural
                                                      inaugural events,  as you
                                                                 events, as  you know,
                                                                                   know, for
                                                                                           for the
                                                                                               the -- or you
                                                                                                   -- or you may
                                                                                                              may know,
                                                                                                                    know, Senator
                                                                                                                           Senator
Blunt is
Blunt  is the
          the point
                point person
                      person for
                              for the
                                  the Joint Congressional Committee
                                      Joint Congressional    Committee onon inaugural;
                                                                              inaugural; soso the
                                                                                               the swearing
                                                                                                   swearing in in and
                                                                                                                  and as
                                                                                                                       as such
                                                                                                                          such the
                                                                                                                               the
logistics for
logistics for that
               that are within his
                    are within his purview
                                   purview and
                                            and that's
                                                 that's going
                                                        going to
                                                              to be
                                                                 be the
                                                                    the focus
                                                                        focus of   their discussion.
                                                                                of their discussion.

   And it's
   And  it's obviously
             obviously --
                       -- it's
                          it's the committee tasked
                               the committee tasked with
                                                    with planning
                                                         planning and swearing in
                                                                  and swearing in of
                                                                                  of the
                                                                                     the president-elect
                                                                                         president-elect and
                                                                                                         and the
                                                                                                             the vice
                                                                                                                 vice
president-elect, one
president-elect, one week
                     week from
                             from today.
                                   today.

    Today,  the vice
    Today, the   vice president-elect
                        president-elect is is headed
                                              headed toto Indianapolis    for a
                                                           Indianapolis for   a finance
                                                                                 finance event   followed by
                                                                                          event followed   by some
                                                                                                                some transition
                                                                                                                       transition
meetings before
meetings   before returning
                   returning to to D.C.     Also today
                                    D.C. Also     today of
                                                         of note,
                                                             note, the
                                                                   the incoming
                                                                        incoming senior
                                                                                    senior White
                                                                                            White House
                                                                                                   House staff
                                                                                                            staff of
                                                                                                                  of the
                                                                                                                     the Trump
                                                                                                                          Trump
administration will
administration will be
                     be going
                         going over
                                 over to
                                       to the
                                          the White
                                              White House
                                                      House toto meet
                                                                 meet with   the current
                                                                       with the   current senior
                                                                                          senior staff
                                                                                                 staff in
                                                                                                       in what
                                                                                                          what is
                                                                                                                is considered
                                                                                                                   considered a a
transition exercise
transition exercise inin briefing
                         briefing to
                                   to help
                                       help ensure   the continued
                                             ensure the              peaceful transfer
                                                         continued peaceful     transfer of
                                                                                          of power
                                                                                             power and
                                                                                                     and aa design
                                                                                                            design ofof how
                                                                                                                        how our
                                                                                                                              our
democracy works
democracy   works for
                    for the
                        the rest  of the
                            rest of  the world
                                         world to  admire.
                                                to admire.

   Looking ahead
   Looking          to next
             ahead to  next week,
                            week, there
                                  there are eight Senate
                                        are eight Senate confirmation  scheduled hearing
                                                          confirmation scheduled hearing schedules--
                                                                                         schedules-- there
                                                                                                     there are
                                                                                                           are eight
                                                                                                                eight
confirmation hearing
confirmation  hearing scheduled
                        scheduled for
                                   for next
                                       next week
                                            week including
                                                   including Education
                                                             Education Secretary
                                                                         Secretary Designate,
                                                                                   Designate, that
                                                                                               that (inaudible)  and
                                                                                                    (inaudible) and
Secretary Designate,
Secretary  Designate, Congressman     Ryan Zinke;
                       Congressman Ryan     Zinke; U.N.
                                                   U.N. Ambassador
                                                         Ambassador Designate,
                                                                       Designate, Governor
                                                                                  Governor Nikki
                                                                                            Nikki Haley;
                                                                                                  Haley; Commerce
                                                                                                         Commerce
Secretary Designate,
Secretary  Designate, Wilbur
                       Wilbur Ross;
                              Ross; HHS
                                      HHS Secretary
                                           Secretary Designate,
                                                      Designate, Congressman
                                                                  Congressman Dr.
                                                                                Dr. Tom   Price; EPA
                                                                                     Tom Price;   EPA Administrator
                                                                                                       Administrator
Designate,Attorney General
Designate,Attorney    General Scott   Pruett;Energy Secretary
                               Scott Pruett;Energy    Secretary Designate,   Governor Rick
                                                                 Designate, Governor    Rick Perry;
                                                                                              Perry; and
                                                                                                      and Treasury
                                                                                                           Treasury
Secretary Designate,
Secretary              Steven Mnuchin.
          Designate, Steven   Mnuchin.

     On    Wednesday morning
     On Wednesday         morning we'll
                                     we'll hold
                                            hold just
                                                   just for
                                                        for logistics
                                                             logistics purposes,
                                                                        purposes, for
                                                                                    for planning
                                                                                         planning purposes,
                                                                                                    purposes, next
                                                                                                                next week.
                                                                                                                        week. It       is our
                                                                                                                                    It is our
intention to
intention    to have
                have this
                     this call
                           call at
                                at the
                                   the PTT
                                        PTT offices
                                              offices here
                                                       here at
                                                             at 1800   E.Street, and
                                                                 1800 E.Street,  and that
                                                                                       that will
                                                                                            will be
                                                                                                 be an
                                                                                                    an off-
                                                                                                        off- camera
                                                                                                             camera gaggag (ph),
                                                                                                                             (ph), thethe call
                                                                                                                                          call
will still
will still happen
           happen so    if you
                    so if  you can't
                                can't logistically
                                       logistically be
                                                     be here
                                                        here and     obviously space
                                                               and obviously   space is is very
                                                                                           very limited;
                                                                                                 limited; so
                                                                                                          so the
                                                                                                              the call
                                                                                                                   call will
                                                                                                                        will still
                                                                                                                              still happen,
                                                                                                                                    happen,
you can
you  can -- -- as
               as normal
                  normal we'll
                           we'll do
                                 do that
                                     that and
                                           and then
                                                 then we    will have
                                                       we will   have the
                                                                       the --
                                                                           -- on
                                                                              on Thursday
                                                                                 Thursday morning,
                                                                                             morning, this
                                                                                                         this call
                                                                                                              call will
                                                                                                                   will be
                                                                                                                        be inin person
                                                                                                                                 person on on
camera; again,we'll
camera;     again,we'll have
                         have the
                                the phone
                                     phone option
                                              option but
                                                      but we
                                                           we will
                                                                will be
                                                                     be moving
                                                                         moving it
                                                                                 it to
                                                                                    to 9
                                                                                       9 A.M.
                                                                                          A.M. onon next
                                                                                                     next Thursday.
                                                                                                           Thursday. That        will be
                                                                                                                         That will      be on
                                                                                                                                           on
camera, the
camera,     the Wednesday
                 Wednesday one one will
                                    will be
                                         be off-camera.
                                             off-camera.
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    THE TRUMP PRESIDENTIAL TRANSITION TEAM HOLDS A NEWS BRIEFING VIA TELECONFERENCE

                                      further details
    Again, I will continue to provide further details later
                                                      later this
                                                            this week
                                                                 week as
                                                                      as far
                                                                         far as
                                                                             as where
                                                                                where we're
                                                                                      we're headed.
                                                                                            headed.

    With that
    With that I'd
              I'd be
                  be glad
                     glad to
                          to take
                             take few
                                  few of
                                      of your
                                         your questions.
                                              questions.

OPERATOR: Thank you. Ladies and gentlemen,
                                gentlemen, if
                                           if you
                                              you would
                                                  would like
                                                        like to
                                                             to ask
                                                                ask a
                                                                    a question, please press
                                                                      question, please press star
                                                                                             star one.
                                                                                                  one.

                            Schwartz of
    We'll go first to Brian Schwartz of FOX
                                        FOX Business.
                                            Business.

QUESTION: Hi, good morning.
QUESTION:

     So Sean,
     So  Sean, II know
                  know you
                        you said
                            said that
                                  that the
                                       the Time
                                           Time Warner
                                                Warner merger
                                                         merger was
                                                                 was not
                                                                      not discussed
                                                                          discussed with
                                                                                    with AT&T
                                                                                         AT&T --
                                                                                               -- with
                                                                                                  with the
                                                                                                       the AT&TCEO
                                                                                                           AT&TCEO butbut
just to
just  to clarify
         clarify here.
                 here. So
                        So Time    Warner was
                            Time Warner     was not
                                                 not brought
                                                     brought up
                                                              up at
                                                                  at all
                                                                     all at
                                                                         at any
                                                                            any capacity
                                                                                capacity --
                                                                                         -- even
                                                                                            even regarding
                                                                                                  regarding job
                                                                                                            job creation,
                                                                                                                creation,
                       none of
anything like that -- none  of it
                               it was
                                  was discussed  at all?
                                       discussed at all? Just a question.
                                                         Just a question.

SPICER: I think I asked and and answered,
                                 answered, thethe merger
                                                  merger was
                                                           was not
                                                                not discussed.
                                                                    discussed. It
                                                                                It was
                                                                                   was focused
                                                                                        focused on
                                                                                                on job
                                                                                                   job creation
                                                                                                        creation and
                                                                                                                 and the
                                                                                                                      the
regulatory impact
regulatory impact that
                  that is
                       is currently
                          currently inhibiting
                                    inhibiting additional
                                               additional job
                                                          job creation
                                                              creation for
                                                                       for AT&T
                                                                           AT&T specifically.And again, I would refer you
to AT&T
to AT&T statement
         statement that
                    that very clearly discussed
                         very clearly discussed these.
                                                  these.

                                      with Red
OPERATOR: We'll go to Karen Hart (ph) with Red River
                                               River Reform
                                                     Reform Network.
                                                            Network.

QUESTION: Thanks
QUESTION:             for taking
              Thanks for  taking my
                                 my question.
                                    question. The  ex-Secretary position
                                              The ex-Secretary  position has
                                                                         has yet
                                                                             yet to
                                                                                 to be
                                                                                    be named
                                                                                       named and
                                                                                              and II was
                                                                                                     was curious
                                                                                                         curious as
                                                                                                                 as
to why
to  why President-
         President- elect
                    elect Donald
                           Donald Trump
                                   Trump has
                                           has yet
                                               yet to
                                                    to name
                                                       name the
                                                             the position
                                                                  position and
                                                                           and when
                                                                                 when he
                                                                                       he intends
                                                                                          intends toto release
                                                                                                       release that
                                                                                                               that
information?

              two things.
SPICER: Well, two things.

   Number one,
   Number    one, II think
                     think I've
                           I've addressed
                                addressed this
                                             this a
                                                  a bunch
                                                    bunch of
                                                           of times.
                                                              times. Both
                                                                     Both the
                                                                           the pick
                                                                               pick for
                                                                                    for V.A.
                                                                                        V.A. and
                                                                                             and agriculture
                                                                                                  agriculture were
                                                                                                              were ones
                                                                                                                   ones that
                                                                                                                        that
he not
he not --
       -- that
          that he
                he didn't
                    didn't take
                           take --
                                 -- the
                                    the other
                                        other one
                                                one is
                                                     is extremely
                                                        extremely seriously,
                                                                   seriously, but
                                                                              but he
                                                                                  he has
                                                                                      has met
                                                                                          met with
                                                                                                with several
                                                                                                     several candidates,
                                                                                                              candidates, he
                                                                                                                          he
understands the
understands   the importance,
                  importance, particularly
                                  particularly the
                                                the (inaudible)
                                                    (inaudible) to
                                                                to and
                                                                   and pray
                                                                        pray for
                                                                             for that
                                                                                 that matter
                                                                                      matter to
                                                                                              to job
                                                                                                 job creation
                                                                                                     creation and
                                                                                                               and economic
                                                                                                                   economic
       in our
growth in our country.
               country.

    And he
    And   he wants
              wants to
                     to make
                        make sure
                               sure that
                                    that he
                                          he metmet with
                                                    with the
                                                         the candidate
                                                             candidate and
                                                                        and understood
                                                                            understood how
                                                                                        how to
                                                                                            to implement
                                                                                                implement his
                                                                                                          his agenda
                                                                                                              agenda to
                                                                                                                      to
achieve those
achieve   those goals.
                 goals. HeHe has
                              has met
                                  met with    several people
                                       with several    people that
                                                               that you
                                                                    you have
                                                                        have seen
                                                                             seen throughout
                                                                                  throughout the
                                                                                              the last
                                                                                                  last couple
                                                                                                       couple of
                                                                                                              of months,
                                                                                                                 months,
                                      it's --
frankly; all very highly talented and ifs  -- II would
                                                 would expect
                                                       expect an
                                                              an announcement
                                                                 announcement onon that
                                                                                   that sometime
                                                                                        sometime soon.
                                                                                                  soon.

                           Washington Examiner.
OPERATOR: (Inaudible) with Washington Examiner.

QUESTION: Thanks for taking my
QUESTION:                   my question.
                               question.

     Sean, earlier
     Sean,   earlier today
                      today the
                             the president-elect
                                  president-elect tweeted
                                                   tweeted that
                                                            that Hillary
                                                                 Hillary Clinton
                                                                         Clinton is
                                                                                  is guilty
                                                                                     guilty as
                                                                                            as hell
                                                                                               hell and
                                                                                                    and related
                                                                                                        related relation
                                                                                                                 relation to
                                                                                                                          to her
                                                                                                                             her
                 server; is
private email server;    is this
                            this a
                                 a change
                                   change in
                                           in feeling
                                              feeling about
                                                      about possibly
                                                             possibly appointing
                                                                      appointing a a special
                                                                                     special prosecutor
                                                                                             prosecutor as
                                                                                                         as the
                                                                                                            the president-elect
                                                                                                                 president-elect
said he
said  he would
           would during   the campaign
                  during the   campaign and
                                         and then
                                               then he
                                                     he kind of backed
                                                        kind of          off that
                                                                backed off   that after
                                                                                  after the
                                                                                        the election.
                                                                                            election. Has
                                                                                                      Has that
                                                                                                           that the
                                                                                                                the changed
                                                                                                                    changed atat
all or
all or is
       is this
          this just
               just a
                    a statement
                      statement this morning?

SPICER: No, I think his position isis stands.
                                      stands. II think
                                                 think he
                                                       he want
                                                          want to
                                                                to make
                                                                   make it
                                                                         it very
                                                                            very clear,I think this
                                                                                 clear,' think this is
                                                                                                    is the
                                                                                                       the position that
                                                                                                           position that
expressed in
expressed  in that
              that tweet
                   tweet or
                         or something;
                            something; he
                                        he expressed
                                           expressed onon the
                                                          the campaign
                                                              campaign trail
                                                                        trail as
                                                                              as well
                                                                                 well that
                                                                                      that her
                                                                                           her use
                                                                                                use of
                                                                                                     of a
                                                                                                        a private
                                                                                                          private server
                                                                                                                  server
and the storage or improper storage of classified information, sharing there (inaudible) violated the law. He has
been very
been very consistent
          consistent about
                      about that.
                            that.

OPERATOR: Ever Sanders (ph) of Las Vegas Review Journal, your line is open.

QUESTION: Hi, Sean.
QUESTION:          Sean. What
                           What is
                                 is the
                                    the president-elect --
                                                         -- what
                                                            what does
                                                                 does he
                                                                      he have
                                                                          have to
                                                                               to do in his inaugural address?
                                                                                                      address? Is
                                                                                                               Is he
                                                                                                                  he
going to
going to try
         try to
             to reach
                reach out
                      out to
                          to people
                             people who
                                    who didn't
                                         didn't support
                                                support him
                                                        him and
                                                             and how
                                                                 how is
                                                                     is he
                                                                        he going to handle hackers?
                                                                           going to

                       the speech
SPICER: Well, I think the   speech --
                                    -- you
                                       you know,
                                           know, he
                                                 he continues
                                                    continues to
                                                              to work
                                                                 work on
                                                                      on it.
                                                                          it. He
                                                                              He will
                                                                                  will continue,
                                                                                       continue,I think
                                                                                                  think the
                                                                                                        the theme
                                                                                                            theme that
                                                                                                                    that he
                                                                                                                         he
had had
had  had since
         since he
               he took
                   took the
                        the stage
                             stage there
                                   there at
                                         at New
                                            New York
                                                 York at
                                                      at about
                                                         about three
                                                               three a.m.
                                                                     a.m. on
                                                                           on that
                                                                               that Wednesday
                                                                                    Wednesday morning
                                                                                                   morning of
                                                                                                            of uniting and
                       together.
bringing all Americans together.
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   II think
      think he
            he has
               has demonstrated
                   demonstrated through
                                 through the
                                          the people
                                               people that
                                                      that he
                                                           he has
                                                              has met
                                                                   met with  and interviewed
                                                                        with and interviewed for
                                                                                             for jobs
                                                                                                 jobs to
                                                                                                      to come  into his
                                                                                                         come into  his
administration, but
administration,  but then
                     then appointed
                          appointed in
                                     in staff
                                        staff level
                                              level that
                                                    that his
                                                         his goal
                                                             goal is
                                                                  is to
                                                                     to bring
                                                                         bring the
                                                                               the best
                                                                                   best and
                                                                                         and the
                                                                                             the brightest
                                                                                                  brightest individuals
                                                                                                            individuals
together to
together  to advance
             advance an
                      an agenda.
                         agenda.

   The   elections behind
   The elections      behind us
                              us and
                                  and he
                                       he wants
                                           wants toto continue
                                                      continue toto talk
                                                                    talk about
                                                                         about issues
                                                                                 issues and
                                                                                         and areas
                                                                                              areas where
                                                                                                      where he
                                                                                                             he can
                                                                                                                 can unite
                                                                                                                      unite the
                                                                                                                            the
country, bring
country, bring it
                it together
                   together and
                            and asas one
                                     one country
                                         country and
                                                   and restore
                                                       restore the
                                                                the pride
                                                                    pride in
                                                                           in our
                                                                              our nation
                                                                                  nation and
                                                                                         and putting
                                                                                             putting more
                                                                                                      more Americans
                                                                                                            Americans back
                                                                                                                       back toto
work; you
work; you continue
            continue to to hear
                           hear those
                                 those themes
                                        themes echo
                                                  echo and
                                                        and I'd
                                                             I'd think
                                                                 think you're
                                                                        you're going   to hear
                                                                                going to  hear aa lot
                                                                                                  lot of
                                                                                                      of that
                                                                                                         that in
                                                                                                              in the
                                                                                                                 the inaugural
                                                                                                                     inaugural
address. It
address.   It will
              will be
                    be very
                       very visionary
                            visionary and
                                       and layout
                                            layout where
                                                    where he
                                                           he wants
                                                               wants toto take
                                                                          take the
                                                                                the country
                                                                                    country in
                                                                                            in the
                                                                                               the world,
                                                                                                    world, that
                                                                                                           that he
                                                                                                                he sees
                                                                                                                   sees every
                                                                                                                          every
                     making the
American play in making     the country
                                 country better.
                                          better.

    So I think hehe will
                     will continue
                          continue to
                                   to do
                                      do that.
                                         that. Well,
                                                Well, asas we
                                                           we get  closer to
                                                               get closer to Inauguration
                                                                             Inauguration Day,
                                                                                           Day, II think
                                                                                                   think we'll
                                                                                                         we'll probably
                                                                                                               probably be able to
                                                                                                                        be able to
readout a
readout  a little
           little bit
                   bit more
                       more of
                             of the
                                the speech
                                    speech but
                                             but ifs
                                                  it's a
                                                       a work
                                                          work in
                                                               in progress,
                                                                  progress, you've
                                                                             you've continued
                                                                                    continued to
                                                                                               to meet
                                                                                                     meet with
                                                                                                          with his
                                                                                                                his team
                                                                                                                    team to
                                                                                                                         to layout
                                                                                                                            layout
additional thoughts
additional thoughts and and goals  and refine
                             goals and  refine some
                                               some the the text.So
                                                            text.So as
                                                                    as we
                                                                       we get
                                                                           get closer
                                                                               closer to
                                                                                      to the
                                                                                         the next
                                                                                             next few
                                                                                                    few days
                                                                                                        days wewe might
                                                                                                                  might be
                                                                                                                        be able
                                                                                                                           able to
                                                                                                                                to
give you
give you aa little
            little bit further guidance
                   bit further guidance on
                                         on that.
                                             that.

          We'll hear from Arlett Sans (ph)
OPERATOR: Well                        (ph) with
                                           with ABC
                                                ABC News.
                                                    News.

QUESTION: Hi, Sean.
QUESTION:

    Does President-elect
    Does   President-elect Trump
                            Trump support   the continuation
                                   support the   continuation of
                                                               of the
                                                                  the FBI's
                                                                       FBI's investigation
                                                                              investigation into
                                                                                             into the
                                                                                                   the unsubstantiated
                                                                                                        unsubstantiated
allegations contained
allegations contained in
                      in that
                         that 35-page
                              35-page dossier?  And then
                                      dossier? And   then also
                                                          also the
                                                               the Washington
                                                                   Washington Post
                                                                                 Post has
                                                                                      has reported
                                                                                           reported that
                                                                                                      that Michael   Flynn
                                                                                                           Michael Flynn
spoke with
spoke  with the
            the Russian
                Russian ambassador
                         ambassador several
                                      several times.
                                              times. Can   you confirm
                                                      Can you   confirm that
                                                                        that they
                                                                             they have
                                                                                  have spoken
                                                                                        spoken inin fact
                                                                                                     fact --
                                                                                                          -- if they did in
fact speak, what did he communicate in those conversation?

SPICER: Thanks, Arlett (ph),
                       (ph), a
                             a couple
                               couple things.
                                      things.

    So as
    So  as farfar as
                  as the
                      the president-elect
                           president-elect does
                                             does the
                                                   the unsubstantiated
                                                        unsubstantiated document
                                                                          document that
                                                                                      that was
                                                                                            was irresponsibly
                                                                                                 irresponsibly posted
                                                                                                                 posted on
                                                                                                                         on the
                                                                                                                              the
internet, I'll check it later.
intemet,                 later. II think
                                   think the
                                         the president
                                             president forcibly
                                                        forcibly address
                                                                 address the
                                                                          the inaccuracy
                                                                              inaccuracy ofof that
                                                                                               that reporting
                                                                                                    reporting in
                                                                                                              in several
                                                                                                                  several areas
                                                                                                                            areas
where -- which is patently false at the press conference.And I don't think anything has changed on that, it was your
responsibility to
responsibility   to put
                    put out
                        out there,
                            there, unsubstantiated
                                    unsubstantiated to
                                                     to begin
                                                        begin with;
                                                               with; and
                                                                     and there
                                                                         there is
                                                                               is really
                                                                                  really nothing
                                                                                         nothing that's
                                                                                                 that's changed
                                                                                                        changed on on that.
                                                                                                                      that.

   And second, with respect to General Flynn, just to give tick-tock on this. On a Christmas Day, General Flynn
reached out
reached out to
            to the
               the ambassador,
                    ambassador, send
                                  send himhim a
                                              a text
                                                text and
                                                     and it
                                                         it said,
                                                            said, you
                                                                  you know,
                                                                      know, II want
                                                                               want to
                                                                                    to wish
                                                                                       wish you
                                                                                            you aa Merry Christmas and
                                                                                                   Merry Christmas  and aa
Happy New Year. I look forward
                          forward toto touching
                                        touching base
                                                  base with   you and
                                                        with you  and working
                                                                       working with
                                                                                with you,
                                                                                     you, and
                                                                                          and II wish
                                                                                                 wish you
                                                                                                      you all
                                                                                                          all the
                                                                                                              the best.The
                                                                                                                  best.The
ambassador texted
ambassador   texted him
                     him back
                         back wishing
                                wishing him him aa Merry
                                                    Merry Christmas
                                                            Christmas as
                                                                       as well
                                                                          well and
                                                                                and then
                                                                                      then subsequently
                                                                                           subsequently on     the 28th
                                                                                                          on the        of
                                                                                                                   28th of
December, texted
December, texted him
                   him and
                       and said
                           said I'd
                                I'd like
                                     like to
                                          to give
                                             give you
                                                  you a call, may I?

     He then
     He    then took
                 took that
                       that call
                            call on
                                 on the
                                     the 28th and the
                                         28th and    the call  centered around
                                                          call centered   around the
                                                                                  the logistics
                                                                                      logistics of
                                                                                                of setting
                                                                                                   setting up up aa call
                                                                                                                      call with
                                                                                                                           with the
                                                                                                                                the
President of
President     of Russia
                 Russia and
                         and the
                             the president-elect
                                 president-elect after
                                                  after he
                                                        he was
                                                            was sworn-in
                                                                 sworn-in and
                                                                           and they
                                                                                they exchanged
                                                                                     exchanged logistical
                                                                                                 logistical information on how
to initiate
to initiate and
             and schedule
                  schedule that
                            that call.
                                 call. That was it,
                                       That was it, plain
                                                    plain and
                                                          and simple.
                                                               simple. II believe
                                                                          believe even
                                                                                  even an
                                                                                        an atheist
                                                                                           atheist will
                                                                                                   will print
                                                                                                        print a
                                                                                                              a --
                                                                                                                -- II don't
                                                                                                                      don't want to
call it -- I don't -- an update to be more accurate to affect the events of that day.

   Now that
   Now   that he
              he has
                 has been
                     been provided
                          provided the
                                   the information
                                       information to
                                                    to clarify
                                                       clarify how
                                                               how that
                                                                   that tick-tock
                                                                        tick-tock went
                                                                                  went down
                                                                                       down but
                                                                                            but that
                                                                                                that was
                                                                                                     was it,
                                                                                                         it, plain
                                                                                                             plain and
                                                                                                                   and
simple. I hope that answered your question, Arlett (ph).

    Well, I'm
    Well, I'm sure
              sure it
                   it does.
                      does. So
                            So thank
                               thank you.
                                     you. Next
                                          Next question?
                                               question?

                  (ph) with
OPERATOR: Shannon (ph) with Bloomberg.
                            Bloomberg.

QUESTION: Hi, thanks for taking my
QUESTION:                       my question.
                                   question.

    II had
       had aa question
              question about
                        about trade,
                               trade, that
                                      that II was
                                              was just
                                                   just hoping
                                                        hoping if
                                                                if you
                                                                   you could
                                                                       could give
                                                                              give a
                                                                                   a little
                                                                                     little clarity
                                                                                            clarity on
                                                                                                    on --
                                                                                                       -- so
                                                                                                          so obviously
                                                                                                             obviously aa lot
                                                                                                                          lot of
                                                                                                                              of talk
                                                                                                                                 talk
has been
has   been about
            about the
                   the border
                       border tax
                                tax with
                                    with regard
                                         regard toto Mexico
                                                     Mexico butbut a
                                                                   a far
                                                                     far greater
                                                                         greater number
                                                                                  number of of cars
                                                                                               cars are
                                                                                                     are imported
                                                                                                          imported from
                                                                                                                    from --
                                                                                                                         -- into
                                                                                                                            into the
                                                                                                                                  the
U.S. from
U.S.   from Canada.
             Canada. SoSo II just
                             just wanted
                                  wanted to
                                          to get
                                              get some
                                                  some clarity
                                                         clarity on
                                                                  on whether   the President-elect's
                                                                     whether the   President-elect's position
                                                                                                        position on
                                                                                                                 on our
                                                                                                                     our border
                                                                                                                         border tax
                                                                                                                                  tax
also applies
also   applies to
               to cars
                  cars imported
                       imported from
                                  from Canada?
                                        Canada? And  And if
                                                          if you
                                                             you can
                                                                 can give
                                                                      give it
                                                                           it a
                                                                              a sense
                                                                                sense why
                                                                                        why Canada     hasn't really
                                                                                              Canada hasn't    really been
                                                                                                                      been brought
                                                                                                                            brought
up more?
up
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SPICER: Well, I think -- you know Shannon, what           what the
                                                                 the president-
                                                                      president- elect
                                                                                 elect has
                                                                                        has been
                                                                                             been very
                                                                                                   very clear
                                                                                                          clear about
                                                                                                                 about consistently
                                                                                                                         consistently
whether it's
whether  it's cars
              cars oror any
                        any other
                            other elements
                                  elements or or a
                                                 a manufacturing
                                                     manufacturing basis
                                                                      basis that
                                                                            that when
                                                                                 when a a company
                                                                                          company that's
                                                                                                     that's in
                                                                                                            in the
                                                                                                               the U.S.
                                                                                                                    U.S. moves
                                                                                                                          moves to to a
                                                                                                                                      a
place whether
place  whether ifs
                 it's Canada
                      Canada oror Mexico
                                  Mexico or or any
                                               any other
                                                     other country;
                                                            country; seeking
                                                                      seeking to
                                                                               to put
                                                                                  put U.S.
                                                                                      U.S. workers
                                                                                            workers at
                                                                                                     at a
                                                                                                        a disadvantage,
                                                                                                           disadvantage, out out them
                                                                                                                                  them
out of
out of work
       work inin order
                 order to
                        to go
                           go to
                              to a
                                 a place
                                   place outside
                                           outside ofof this
                                                        this country
                                                             country where
                                                                       where they
                                                                              they will
                                                                                   will pay
                                                                                        pay less
                                                                                            less for
                                                                                                 for labor
                                                                                                     labor but
                                                                                                            but then
                                                                                                                 then seek
                                                                                                                       seek toto repay
                                                                                                                                 repay
benefit by
benefit by selling
            selling that
                     that product
                          product back
                                   back into
                                         into America;
                                               America; he he is
                                                              is going
                                                                  going to
                                                                        to do
                                                                           do everything
                                                                              everything he
                                                                                          he can
                                                                                              can to
                                                                                                  to deter
                                                                                                     deter that.So
                                                                                                            that.So the
                                                                                                                      the first
                                                                                                                          first step
                                                                                                                                step is
                                                                                                                                     is
ensuring that
ensuring  that they
                they understand
                      understand that
                                   that there
                                        there will
                                                will be
                                                     be aa penalty
                                                           penalty for
                                                                    for reimporting
                                                                        reimporting that
                                                                                    that which
                                                                                          which they
                                                                                                they had
                                                                                                      had initially
                                                                                                           initially put
                                                                                                                     put in
                                                                                                                         in the
                                                                                                                            the U.S.
                                                                                                                                 U.S.

    And second
    And   second ofof all,
                      all, that
                           that can
                                 can create
                                      create aa more
                                                  more favorable
                                                         favorable regulatory
                                                                     regulatory intact
                                                                                 intact climate,
                                                                                        climate, so
                                                                                                  so that
                                                                                                     that will
                                                                                                          will be
                                                                                                               be something   that
                                                                                                                  something that
wouldn't even
wouldn't  even consider
                consider inin the
                              the future.
                                  future. So
                                           So II think
                                                 think it's
                                                       it's not
                                                            not so
                                                                so much
                                                                   much a a targeted
                                                                             targeted at
                                                                                      at one
                                                                                         one particular
                                                                                              particular country
                                                                                                         country or
                                                                                                                 or one
                                                                                                                    one particular
                                                                                                                        particular
industry, this
industry, this is
               is something
                  something that
                               that he
                                    he believes
                                       believes isis crucial
                                                     crucial to
                                                              to reviving
                                                                 reviving our
                                                                          our American
                                                                               American manufacturing
                                                                                          manufacturing base
                                                                                                          base and
                                                                                                                and ensuring
                                                                                                                     ensuring that
                                                                                                                              that
hard-working Americans
hard-working    Americans don't
                              don't get
                                    get this
                                         this advantage
                                              advantage because
                                                             because a  a company
                                                                          company that
                                                                                     that was
                                                                                           was based
                                                                                               based inin the
                                                                                                          the U.S.
                                                                                                               U.S. to
                                                                                                                    to begin
                                                                                                                       begin with
                                                                                                                              with
chose to
chose  to go
          go somewhere
              somewhere elseelse only
                                  only to
                                       to seek
                                          seek a a more
                                                   more favorable
                                                           favorable tax
                                                                      tax climate  and then
                                                                          climate and  then sell
                                                                                             sell back
                                                                                                  back that
                                                                                                       that same
                                                                                                            same product
                                                                                                                  product here.
                                                                                                                           here.

OPERATOR: And with that I'll turn it back over to Mr. Spicer for any additional
                                                                     additional or
                                                                                or closing
                                                                                   closing remarks.
                                                                                           remarks.

        Hey, guys.
SPICER: Hey, guys.

    As of right now, Monday is a federal holiday for MLK Day. We do not intend to do a call on Monday. I will give
any read
any  read outs
           outs by
                 by the
                    the pool
                        pool and
                              and obviously
                                  obviously II will
                                               will continue
                                                    continue to
                                                             to provide
                                                                provide updates
                                                                         updates that
                                                                                    that you
                                                                                         you might
                                                                                              might need
                                                                                                    need and
                                                                                                           and if
                                                                                                               if you
                                                                                                                  you do
                                                                                                                      do need
                                                                                                                         need
anything in the interim please email the site as we've talked about before media at PTT.gov. If you would like to
register for
register for either
             either one
                    one of
                         of the
                            the Wednesday
                                Wednesday oror Thursday    press events
                                                Thursday press     events that
                                                                          that will
                                                                               will take
                                                                                    take place
                                                                                          place here
                                                                                                here in
                                                                                                     in person,use
                                                                                                        person,use the
                                                                                                                     the same
                                                                                                                         same
email that
email  that we  used for
            we used   for the
                          the Trump
                              Trump Tower  which is
                                    Tower which     is credentials
                                                       credentials at
                                                                   at media
                                                                      media --
                                                                            -- excuse
                                                                               excuse me,me, credentials
                                                                                              credentials at
                                                                                                          at PTT.gov.
                                                                                                             PTT.gov.

    II want
       want to
             to emphasize
                 emphasize very
                            very clearly
                                  clearly that
                                          that space
                                                space is
                                                       is going
                                                           going to
                                                                 to be
                                                                     be at
                                                                        at a
                                                                           a premium
                                                                             premium in
                                                                                      in the
                                                                                         the PTT
                                                                                              PTT spaces.
                                                                                                    spaces. Additionally,
                                                                                                              Additionally,
because it
because   it is
             is a
                a government
                  government building
                               building and
                                         and because
                                             because of of the
                                                           the individuals
                                                               individuals who
                                                                           who come
                                                                               come out
                                                                                     out of
                                                                                         of --
                                                                                            -- in
                                                                                               in and
                                                                                                  and out
                                                                                                      out of
                                                                                                          of this
                                                                                                             this building,
                                                                                                                  building,
security will
security will be   heightened. II would
               be heightened.     would urge
                                         urge you
                                               you to
                                                    to make
                                                       make sure
                                                              sure that
                                                                   that you
                                                                        you leave
                                                                            leave appropriate
                                                                                  appropriate amount
                                                                                               amount of
                                                                                                       of time
                                                                                                          time for
                                                                                                                for both
                                                                                                                    both of
                                                                                                                         of
those event
those  event if
              if you
                 you choose
                     choose to
                            to come
                               come inin person
                                         person (inaudible).
                                                 (inaudible).

    Anyway, thank
    Anyway, thank you
                  you very
                      very much.
                           much. II hope
                                    hope you
                                         you have
                                             have a
                                                  a great
                                                    great weekend
                                                          weekend and
                                                                  and we
                                                                      we look
                                                                         look forward
                                                                              forward to
                                                                                      to talk
                                                                                         talk in
                                                                                              in future.
                                                                                                 future. Bye.
                                                                                                         Bye.

OPERATOR: Thank you. That
          Thank you. That does
                          does conclude
                               conclude today's
                                        today's conference.
                                                conference. Thank
                                                            Thank you
                                                                  you all
                                                                      all again
                                                                          again for
                                                                                for your
                                                                                    your participation.
                                                                                         participation.

    END


Load-Date: January
Load-Date: January 13,
                   13, 2017


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